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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS
                                AT WICHITA, KANSAS


  CRISTINA CASTRO DURAN,

                         Plaintiff,
  v.
                                                          Case No.:
  HOBBY LOBBY STORES, INC.,

                         Defendant.


                                           COMPLAINT

       Plaintiff, by and through counsel J. Corey Sucher and Richard W. James of DeVaughn

James Injury Lawyers and for Plaintiff’s claims against Defendant, alleges and states:

       1.      Plaintiff is a citizen of the state of Kansas.

       2.      Defendant is a foreign corporation incorporated in the state of Oklahoma with its

               principal place of business in the state of Oklahoma. It may be served through its

               Resident Agent, Corporation Service Company, at 2900 SW Wanamaker Dr., Ste.

               204, Topeka, KS 66614.

       3.      This Court has jurisdiction over the persons and subject matter.

       4.      This action is brought pursuant to 28 U.S.C. Section 1332(a) on the basis of diversity

               of citizenship and the matter in controversy exceeds the sum of $75,000.00, exclusive

               of interest and costs.

       5.      On or about August 27, 2020, Plaintiff was a business visitor shopping at

               Defendant’s Hobby Lobby store located at 2450 S. 9th Street, #400, Salina, Kansas

               67401 and walking inside the store when she slipped and fell while on the premises

               owned, operated, and/or maintained by Defendant.
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6.    The area where Plaintiff slipped and fell was wet and slippery, and Plaintiff slipped

      and fell due to the wet, slippery, and unsafe flooring conditions.

7.    After Plaintiff’s fall, an employee of Defendant arrived and slipped and nearly fell

      herself. It was not until after Plaintiff fell did Defendant then put in place warnings

      about the hazardous slippery condition.

8.    Defendant and/or its employees, agents, ostensible agents, and/or staff members

      were careless and negligent as follows:

      A. Failing to use ordinary and reasonable care to maintain its premises in a safe

          condition for customers;


      B. Creating a dangerous slip/fall hazard by leaving a slippery/wet substance on the

          floor of the store and in the path of customers;


      C. Failing to warn, either verbally and/or by using signs, cones, and/or other warning

          devices, of a dangerous wet slip/fall hazard that had been left out on the floor of

          the store;


      D. Failing to mark, with signs, cones, and/or other warning devices, a dangerous wet

          slip/fall hazard that had been left out on the floor of the store;


      E. Allowing a dangerous and unmarked wet slip/fall hazard to remain out on the floor

          of the store;


      F. Failing to maintain its customer areas in a reasonably safe condition;


      G. Failing to check for dangerous slip/fall hazards in high traffic areas of the store;




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      H. Failing to put away/clean up a dangerous wet slip/fall hazard that it created or

         allowed in the store;


      I. Failure to mop and clean the area where Plaintiff fell;


      J. Violations of Defendant’s own policies designed to keep customers safe from wet

         slippery flooring;


      K. Violations of industry standards relating cleaning, mopping, safety sweeps, and

         customer safety,


      L. Failing to supervise proper inspection and/or maintenance of the store’s floor;


      M. Failing to utilize a safety system to check for routine slip/fall hazards that could

         foreseeably cause injury to customers when Defendant knew or reasonably should

         have known that the wet condition was a slip/fall hazard and would knowingly

         cause harm to customers in the store;


      N. Failing to utilize an audible warning system to warn customers of hazards;


      O. Failing to have a system in place to help customers warn management when a

         safety hazard is present and needs to be addressed;


      P. Failing to block or barricade the slip/fall hazard area to prevent customer injury;


      Q. Failing to have adequate safety management protocols in place through use of

         employee orientation and training, including use of safety manuals and training

         videos with testing, to help ensure comprehension and understanding by




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                    managers, employees, agents, independent contractors, and/or supervisory

                    personnel;


                R. Negligent hiring, retention, supervision, and training of managers, employees,

                    agents, independent contractors, and/or supervisory personnel, as evidenced by,

                    upon information and belief, Defendant’s failing to hire safe personnel and failing

                    to properly train its personnel in safety, as well as Defendant’s retention of unsafe

                    personnel; and/or


                S. Other negligent actions and/or omissions to be supplemented after discovery.


        9.      Through principles of respondent superior and vicarious liability, Defendant is

                responsible for the negligence of its employees and agents.

        10.     As a result of Defendant’s negligence, Plaintiff sustained personal injuries.

                Plaintiff’s damages include past medical expenses; future medical expenses; past

                and future economic damages; and past and future non-economic damages,

                including pain, suffering, and mental anguish.

        Plaintiff requests judgment against Defendant for an amount in excess of $75,000.00,

together with the costs incurred herein, and for such other and any further relief as this Court deems

fair, just, and equitable.



               DEMAND FOR PRETRIAL CONFERENCE AND JURY TRIAL

        Plaintiff demands a pretrial conference and trial by jury of 12 persons in this matter.




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                    DESIGNATION OF PLACE OF TRIAL

Plaintiff designates Wichita, Kansas as the place for trial in this matter.


                                       DeVaughn James Injury Lawyers

                                       By: /s/ J. Corey Sucher
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